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                                                                                           rICTCIQICFNEVADA r PBTY
         5                                                                      B1

         6                                UM TED STATES DISTRICT COIJRT

         7                                         DISTRICT OF NEVADA

         8 UNITED STATESOF AMERICA,                         )
                                                            )
         9                          lAlairïtiff,            )
                                                            )
        10             v,                                   )         2:1I-CR-3IO-JCM IKTJI
                                                            )
        11 KYLE LAIR,                                       )                                                        I
                                                            )                                                        I
        12                         Defendant.               )
                                                                                                                     1
        13                            PRELIM INARY O RDER OF FORFEITURE                                              k
                                                                                                                     I
        14            n i                                                                                            1
                         sCourtfindsthaton M ay 3,2012,defendantKYLE LAIR pled guiltyto CountsOneand
        15 TwoofaTwo countCrim inallnform ationcharginghim in CotmtsOneandTwo withDistribution
                            -                                                                                        I
                                                                                                                     1
                                                                                                                     I
        16 ofaConkolled SubstanceW ithin 1000FeetofaPlaygrotmd in violation ofTitle21,United States                  i
                                                                                     .
                                                                                                                     1
        l7 Code, Section841(a)(1).                                                                                   !
                                                                                                                     I
        18      Thi                                                                                                  I
                        sCourtlindsdefendantKXLELAIR agreedtotheforfeitureofthepropertysetforthinthe                 I
                                                                                                                     !
        19 ForfeitureAllegationsoftheCriminalInformationandinthePleaM emorandum.                                     l
                                                                                                                     i
        20            ThisCourtlinds,pursuanttoFed.R.Crim.P.32.2(b)(l)and(2),theUnitedSGtesofAmerica                 g
        21 h                                                                                                         i
               as shown the requisite nexusbetaveen property setforth in the Forfeiture Allegations o?the            I
                                                                                                                     I
        22 CriminallnformationandthePleaMemorandum andtheoffensestowhichdefendantKYLELAIR                            i
                                                                                                                     1
        23 pled guilty                                                                                               !
                      .                                                                                              j
        24       Th                                                                                                  I
                    efollowingassetsaresubjecttoforfeitureplzrsuanttoTitle21,UnitedStatesCode,Section                I
                                                                                                                     1
        25 853(a)(l)and(a)(2);andTitle21,United StatesCode,Section 853(1$:  .
                                                                                                                     I
                                                                                          '                          i
        26   . . .
                                                                                                                     !
                                                                                                                     !
                                                                                                                     1
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 1              a,   $81,475.00inUnitedStatesCurrency(seizedfrom 24/7PrivateVaults,based
 2                   onkeysrecoveredfrom JacobLillonorabout4/13/11);
 3              b.   $4,105.00inUnitedStatesCurrency(seizedfrom EdmundJ.Scbroback
4                    representingtheday'sdl'ugsalesofmmijuanabyCompletelyLegal1.0onor
 5                   about4/13/2011);
6               c.   $2,962.00inUnitedStatesCurrency(seized from thecashregisterat
 7                   CompletelyLegal2.Oonorabout4/13/2011);
 8              d.   $2,585.00inUnitedStatesCurrency(seizedfrom thecashdrawerat
9                    CompletelyLegal2.Oonorabout8/3/201l);
10              e.   $1,314,00inUnitedStatesCurrency (seized f'
                                                              rom masterbedroom ofJacob      .




l1                   Lill'shomeonorabout8/3/2011);
12              f.   $12,056.00inUnitedStatesCurrency(seizedfrom baginJacobLill'svehicle
13                   athishomeonorabout8/3/2011);
14              g.   $2,567.00inUnitedStatesCurrency(seizedfrom cashdraweratCompletely
15                   Legal3.Oonorabout8/3/2011).
                                               ,
16              h.   $7,432.00inUnitedStatesCurrency(seizedfrom JacobLill'sresidenceonor
l7                   about4/13/201l);
18              i.   $2,150.00inUnitedStatesCurrency(seizedfrom BankofAmericaAccotmt
19                   N o,501012187203 in the nam e ofPM W ,lnc., seizedonorabout8/5/2011),
                                                                                         .
20              j.   $2,665.00inUnitedStatesCurrency(seizedfrom BankofAmericaAccount
21                   N o.501012645570 in the nam e ofEO S V entures,LLC,seized on or about

22                   8/5/2011);and
23              k.   2007 M ercedes CLK 350,V 1N :W 17817561157F215349, including

24                   approximately$18,000inupgrades,includingacustom audiosystem (seized
25                   onorabout4/13/11)Cproperty'').
26 ...
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 1         ThisCourtEnds the United StatesofAm erica isnow entitled to,and should,reduce the
 2 atbrem entioned property to the possession oftlle U nited States ofA m erica.
 3         N OW TH EREFORE,IT IS H EREBY O RDER ED ,A DJUD GED ,A N D D ECREED thatthe

 4 U nited States ofA m erica should seize the aforem entioned property.
 5         IT IS FU RTHER O RD ERED ,ADJUD G ED ,AN D DECREED a1lright,title,arld interestof

 6 KYLE LAIR in the aforementioned property isforfeited and is vested in the United States of
 7 Am ericaand shallbesafely held by theUnited StatesofAmericakmtilfurtherorderoftheCourt.

 8         IT ISFURTHER ORDERED ,ADJUDGED,AND DECREED theUnited StatesofAm erica

 9 shallpublishforatleastthirty(30)consecutivedaysontheoftkialinternetgovernmentforfeiture
                                                                                                        I
10 website,Brw w .forfeitlzre.gov,notice ofthisOrder,w hich shalldescribe the forfeited property,sote   !

11 thetim eunderthe applicablestattztew hen apetitien contestingthe forfeiturem ustbefiled,and state    q
12 the name and contactinform ation forthe governmentattorney to be served w ith the petition,

13 ptzrsuanttoFed.R.Crim.P.32.2(b)(6)andTitle2l,UnitedStatesCode,Section 853(n)(2).
14         IT IS FU RTHER ORD ERED ,A DJU D GED ,AN D D ECREED apetition,ifany,m ustbe tiled

15 with theClerk oftheCourq 333 LasVegasBoulevard South,LasVegas,Nevada 89101.
16         IT IS FU R THER O RD ER ED ,A DJUD G ED ,A N D DECREED a copy ofthepetition,ifany,

17 shallbe selwed upon theAssetForfeitureAttorney ofthe United StatesAttorney'sOftke atthe
18 following addressatthetim eoffiling:
19                 M ichaelA .Hm nphreys
                   A ssistantU nited So tesAttorney
20                 D anielD .H ollingsw orth
                   AssistantUnited ShtesAttorney
21                 Lloyd D ,G eorge U nited StatesCourthouse
                   333 Las VegasBoulevard South,Suite 5000
22                 LasVegms,N evada 89101.
23   ,..

24   ...

25   ...

26   ..,
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1         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED the notice described herein
     need notbe published in the eventa D eclaration ofForfeiture is issued by the appropriate agency

     followingpublication ofnoticeofseizureand intentto administrativelyforfeittheabove-described
     property.

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                                               LIN IT     TA TES D ISTRICT JUD GE




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